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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

CHARLES K. BRIDWELL,                         )
                                             )
                    Plaintiff,               )                 8:11CV429
                                             )
      vs.                                    )                   ORDER
                                             )
UNITED STATES OF AMERICA,                    )
                                             )
                    Defendant.               )


      This matter is before the court on the parties’ stipulation to substitute parties. The
parties made the stipulation as part of their Rule 26(f) planning report by stating: “The
parties request that the Court issue an order substituting the United States of America as
the sole defendant in the place of the Department of Veterans Affairs, and order that the
caption be amended to name United States of America as the sole defendant.” See Filing
No. 17 at p. 13. The court adopts the parties’ stipulation. Accordingly,




      IT IS ORDERED:
      1.     The Clerk of Court shall amend the docket sheet to reflect the defendant is
“United States of America.”
      2.     All future filings shall contain the caption that appears on this order.
      DATED this 4th day of April, 2012.
                                                 BY THE COURT:


                                                 s/ Thomas D. Thalken
                                                 United States Magistrate Judge
